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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov


                                                  Filed: May 17, 2023


Mr. Cedric Greene
501 E. Sixth Street
Los Angeles, CA 90021

                     Re: Case No. 23-5459, Cedric Greene v. Frontier Airlines, Inc.
                         Originating Case No. 3:23-cv-00278

Dear Mr. Greene,

   This appeal has been docketed as case number 23-5459 with the caption that is enclosed on a
separate page. Please review the caption for accuracy and notify the Clerk's office if any
corrections should be made. The appellate case number and caption must appear on all filings
submitted to the Court.

   As the appellant, when you submit motions, briefs or any other documents to the Clerk's
office, send only 1 original, which you have signed. Copies are no longer necessary. Do not
staple, paper clip, tab or bind pro se motions or briefs sent to the Clerk's office -- these
documents are scanned and staples etc. create paper jams. You must mail opposing counsel
a copy of every document you send to the Clerk's office for filing.

   The Clerk's office cannot give you legal advice but if you have questions about the forms,
please contact the office for assistance.

                                                  Sincerely yours,

                                                  s/Virginia Lee Padgett
                                                  Case Manager
                                                  Direct Dial No. 513-564-7032


Enclosure




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               OFFICIAL COURT OF APPEALS CAPTION FOR 23-5459




CEDRIC GREENE

            Plaintiff - Appellant

v.

FRONTIER AIRLINES, INC.

            Defendant - Appellee




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